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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                          *
                                                   *
                 v.                                *
                                                   *
 GARY JAMAL WEBSTER,                               *     Criminal Action No. 18-cr-10299-ADB
                                                   *
                 Defendant.                        *
                                                   *
                                                   *

                                      PRETRIAL ORDER

BURROUGHS, D.J.

       It is hereby ORDERED that:

       1.       Trial shall commence on October 21, 2019 at 9:00 a.m. in Courtroom 17.

       2.       The government shall by September 3, 2019, disclose to the defendant:

                a)     The exculpatory information identified in Local Rule 116.2 that has not

been previously produced; and

                b)     A general description (including the approximate date, time, and place) of

any crime, wrong, or act the government proposes to offer pursuant to Fed. R. Evid. 404(b).

       3.       Statements (as defined in 18 U.S.C. § 3500(e) and Fed. R. Crim. P. 26.2(f)) of

witnesses each party intends to call in its or his case-in-chief shall be produced by September 10,

2019 unless the parties state otherwise.

       4.       The parties shall by September 17, 2019, file proposed voir dire questions,

proposed jury instructions, any Motions in Limine with supporting memoranda, and a trial brief.

Replies to any motion in limine shall be filed by October 1, 2019.

       5.       The government shall by October 3, 2019:
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                a)     Provide the defendant with the names and addresses of witnesses the

government intends to call at trial in its case-in-chief. If the government subsequently forms an

intent to call any other witness, the government shall promptly notify the defendant of the name

and address of that prospective witness.

                b)     Provide the defendant with copies of the exhibits and a premarked list of

exhibits the government intends to offer in its case-in-chief. If the government subsequently

decides to offer any additional exhibit in its case-in-chief, the government shall promptly provide

the defendant with a copy of the exhibit and a supplemental exhibit list.

       6.       The defendant shall by October 10, 2019:

                a)     Provide the government with the names and addresses of the witnesses the

defendant intends to call in his case-in-chief. If the defendant subsequently forms an intent to call

any other witness in his case-in-chief, he shall promptly notify the government of the name and

address of that witness.

                b)     Provide the government with copies of the exhibits and a premarked list of

the exhibits the defendant intends to offer in his case-in-chief. If the defendant subsequently

decides to offer any additional exhibits in his case-in-chief, he shall promptly provide the

government with a copy of the exhibit and a supplemental exhibit list.

       7.       The parties shall by October 14, 2019 file a written stipulation of any facts that

they agree are not in dispute.

       8.       The final pretrial conference and hearing on motions in limine, etc. shall be

held on October 8, 2019 at 10:30 am. The Defendant shall attend this conference.



NOTE: IF THE COURT RESCHEDULES THE TRIAL, ALL SUBMISSION DATES IN




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THIS ORDER REMAIN IN EFFECT UNLESS COUNSEL FILE A MOTION SEEKING

LEAVE OF COURT TO MODIFY THEM TO SPECIFICALLY DESIGNATED DATES.



June 17, 2019                                   /s/ Allison D. Burroughs
                                                ALLISON D. BURROUGHS
                                                U.S. DISTRICT JUDGE




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